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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISON

 DATA MARKETING PARTNERSHIP,                     §
 LP, et al.,                                     §
                                                 §
        Plaintiffs,                              §
                                                 § Civil Action No. 4:19-cv-00800-O
 v.                                              §
                                                 §
 UNITED STATES DEPARTMENT OF                     §
 LABOR, et al.,                                  §
                                                 §
        Defendants.                              §

                                            ORDER

       Before the Court is the parties’ Joint Status Report (ECF No. 54), filed September 14, 2023.

In their report, the parties confirm that (1) the sole remaining issue is whether the Court should

enter a permanent injunction as additional relief beyond the vacatur of the Department of Labor’s

Advisory Opinion, and (2) the issues remanded by the Fifth Circuit must be addressed for that

purpose. ECF No. 54 at 2. To that end, the parties propose a post-remand briefing schedule for

summary judgment. After due consideration, the Court finds the proposed briefing schedule and

the agreed page limitations to be appropriate. Accordingly, the Court ORDERS as follows:

       1. Plaintiffs shall file their motion for summary judgment by January 15, 2024. The

           motion is not to exceed 30 pages.

       2. Defendants shall file their response in opposition to the motion for summary judgment

           by February 26, 2024. The response is not to exceed 40 pages.

       3. Plaintiffs shall file their reply in support of the motion for summary judgment by

           March 18, 2024. The reply is not to exceed 20 pages.

       SO ORDERED this 15th day of September, 2023.


                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
